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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW MEXICO


IRONSHORE SPECIALTY INSURANCE
COMPANY,

       Plaintiff,

v.                                                   Cause No. 2:16-cv-00972-KG-GJF

XTO ENERGY, INC., CONCHO RESOURCES,
INC., COG OPERATING, LLC, and
SOUTHWEST ROYALTIES, INC.,

       Defendants.


                      ORDER OF DISMISSAL WITH PREJUDICE OF
                       COMPLAINT AND CROSSCLAIM AGAINST
                       DEFENDANT CONCHO RESOURCES, INC.

       THIS MATTER having come before the Court on the Unopposed Motion of Defendant

Concho Resources, Inc. to dismiss with prejudice the claims against Defendant Concho

Resources, Inc. asserted in Plaintiff Ironshore Specialty Insurance Company’s Complaint (Doc.

1) and in Defendant XTO Energy, Inc.’s Crossclaim (Doc. 42)], the Court having considered the

Motion and being otherwise fully informed in the premises finds that the motion is unopposed

and well-taken and should be granted.

       IT IS THEREFORE ORDERED, ADJUDGED AND DECREED that the claims asserted

against Defendant Concho Resources, Inc. in Plaintiff Ironshore Insurance Company’s

Complaint (Doc. 1) and in Defendant XTO Energy, Inc.’s Crossclaim (Doc. 42), be and hereby

are dismissed with prejudice, with each party to bear its own costs attorney’s fees.


                                                     ____________________________________
                                                     UNITED STATES DISTRICT JUDGE
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SUBMITTED BY:



/s/ Daniel W. Lewis
Daniel W. Lewis
Allen, Shepherd, Lewis & Syra, P.A.
P.O. Box 94750
Albuquerque, NM 87199-4750
Attorneys for Defendants Concho Resources, Inc., COG Operating, LLC
And Southwest Royalties, Inc.


APPROVED BY:

Approved telephonically 7/5/17
Dick R. Holland
Shafer, Davis, O'Leary & Stoker
P.O. Box 1552
700 N. Grant Ste. 201
Odessa, TX 79760
Attorneys for Defendants Concho Resources, Inc., COG Operating, LLC
And Southwest Royalties, Inc.


Approved via email 6/26/17
Randell E. Treadaway
Zaunbrecher Treadaway Bollinger, LLC
406 N. Florida Street, Suite 2
Covington, LA 70433
Attorneys for Plaintiff


Approved via email 6-26-17 by Jose A. Ramirez
Jose A. Ramirez
Catherine C. Crane
Holland & Hart, LLP
6380 South Fiddlers Green Circle, Suite 500
Greenwood Village, CO 80111
Attorneys for Defendant XTO Energy, Inc.
